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14                                  UNITED STATES DISTRICT COURT

15                                         DISTRICT OF NEVADA

16   UNIVERSAL ENTERTAINMENT                                  CASE NO.: 2:18-CV-585 (RFB)(GWF)
     CORPORATION, a Japanese corporation,
17                                                            JOINT DISCOVERY PLAN AND
                     Plaintiff,                               SCHEDULING ORDER
18
             vs.                                              SPECIAL SCHEDULING REVIEW
19                                                            REQUESTED FOR A PATENT CASE
     ARUZE GAMING AMERICA, INC., a Nevada
20   corporation, KAZUO OKADA, an individual
21                   Defendants.
22

23                           DISCOVERY PLAN AND SCHEDULING ORDER

24          Under Fed. R. Civ. P. 26(f), Local Rule 26-1 and the Local Rules of Practice for Patent Cases
25   before the United States District Court for the District of Nevada, the respective parties conducted a
26   discovery planning conference on July 6, 2018.
27          The parties have requested a fact discovery period longer than one hundred eighty (180) days
28   from the date of the answer. The parties have submitted to the Court that the longer period is required
                                                       1
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 1   because (1) this case involves the assertion of United States Patents and the parties, in addition to

 2   normal discovery for non-patent cases, also must prepare “Local Patent Rule” (as defined herein)

 3   disclosures and the Court must complete the claim construction process as set forth in Part III of the

 4   Local Rules (referred to herein as the “Local Patent Rules” which are designated by the prefix

 5   “LPR”), (2) this case involves documents that will be produced in Japanese that will require

 6   translation in order for counsel to review and produce the Japanese document, (3) many of the

 7   witnesses are Japanese speakers which will require more time for preparation and depositions, (4)

 8   many of the witnesses live outside the United States in Japan and Hong Kong which will add time for
 9   scheduling and travel, in addition to normal discovery. Defendants have not answered the Complaint
10   but have filed a Motion to Dismiss. The briefing related to this Motion is ongoing.
11           Per LR 26-1(b)(7), the parties have met and conferred about the possibility of using
12   alternative dispute-resolution processes. A timeline for proposed dates for settlement conferences is
13   listed below.
14           Per LR 26-1(b)(8), the parties have considered trial by the magistrate under 28 U.S.C. §
15   636(c) and Fed. R. Civ. P. 73. The parties do not consent to trial by magistrate. The parties have
16   considered the Short Trial Program (General Order 2013-01 and Short Trial Rules) and do not
17   consent to the program.
18           Per LR 26-1(b)(9), the parties intend to present evidence in electronic format to jurors for

19   purposes of jury deliberations.

20           The parties agree that production or inspection of source code (if necessary), technical

21   documents, and other confidential and sensitive information shall only be made in accordance with a

22   protective order, after negotiations, agreement of the parties, and court approval, that shall be entered

23   in this case.

24           The parties agree that the expert discovery period should follow the close of fact discovery

25   and the claim construction ruling, as provided in the chart below.

26           In accordance herewith, the parties jointly submit to the Court the following proposed

27   Discovery Plan and Scheduling Order:

28

                                                        2
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                                  Event                                   Proposed Deadlines
 1
     1. Discovery Cut-Off for Fact Discovery                                  July 12, 2019
 2

 3   2. Proposed Protective Order and Proposed Order for Discovery            July 30, 2018
     of Electronically Stored Information.
 4   3. Disclosure of Rule 26(a) Initial Disclosures,                        August 6, 2018

 5   3.5 Disclosure of Asserted Claims, Infringement Contentions,            October 8, 2018
     and Accompanying Documents
 6   4. Disclosure of Non-Infringement, Invalidity, Unenforceability        January 18, 2019
     Contentions, and Accompanying Documents
 7
     5. Response to Non-Infringement, Invalidity, and                       February 11, 2019
 8   Unenforceability Contentions
     6. Exchange of Proposed Terms of Construction                            March 1, 2019
 9
     7. Three Proposed Dates for Pre-Claim Construction Settlement           March 5, 2019;
10   Conference                                                              March 7, 2019;
                                                                             March 12, 2019
11

12   8. Exchange of Preliminary Claim Constructions                          March 15, 2019

13   9. Submit Joint Claim Construction and Prehearing Statement             March 22, 2019

14   10. Motion to Amend Pleadings/Parties                                    April 12, 2019

15   11. Opening Claim Construction Brief                                     April 24, 2019

16   12. Interim Status Report                                                May 24, 2019

17   13. Response to Claim Construction Brief                                 May 10, 2019

18   14. Reply Claim Construction Brief and Matter Submitted to               May 17, 2019
     court for Hearing
19   15. Claim Construction Tutorials, Hearing, and Order from         To be determined based on
     Court                                                                the Court’s calendar
20

21   16. Initial Expert Disclosures                                     The later of 45 days after
                                                                       Court’s claim construction
22                                                                     order or 45 days after close
                                                                            of fact discovery.
23

24   17. Rebuttal Expert Disclosures                                    30 days after initial expert
                                                                               disclosures.
25
     18. Discovery Cut-Off for Expert Discovery                        30 days after rebuttal expert
26                                                                             disclosures.
27
     19. Dispositive Motions Due                                       30 days after close of expert
28                                                                              discovery.

                                                    3
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 1          JOINT STATEMENT OF REASONS FOR CHANGES TO THE LOCAL RULES
 2          Extension of the Patent Local Rules Dates:          Defendant Aruze contends that the initial
 3   disclosure requirements of the patent local rules (e.g., PLRs 1-6 through 1-9, in particular) should be
 4   extended because the timing of discovery associated with these disclosures will be more time
 5   consuming due to the need to take discovery from Japanese witnesses, as well as obtain translations
 6   of documents. Discovery into foreign prior art will take additional time to find and translate, as well
 7   as provide the translations required by the local rules. Likewise, a greater than 45-day interval
 8   should exist between the plaintiff’s disclosure and the defendant’s invalidity disclosures because the
 9   exploration of any prior use or sale by plaintiff and/or priority claims asserted by plaintiff will likely
10   require discovery found in documents in Japanese, and witnesses currently located in Japan.
11          IT IS ORDERED that within 30 days after Initial Disclosures and Responses are complete,
12   the parties must submit to a Pre-Claim Construction Settlement Conference as set by the court.
13          IT IS FURTHER ORDERED that within 30 days after the Court enters a Claim
14   Construction Order, the parties must submit to a Post-Claim Construction Settlement Conference as
15   set by the court.
16          IT IS FURTHER ORDERED that any extension of the discovery deadline will not be allowed
17   without a showing of good cause for the extension. All motions or stipulations to extend discovery
18   must be received by the court at least 21 days before the expiration of the subject deadline. A

19   request made after this date will not be granted unless the movant demonstrates that the failure to act

20   was the result of excusable neglect. The motion or stipulation must include:

21          (a) A statement specifying the discovery completed by the parties as of the date of the motion

22   or stipulation; (b) A specific description of the discovery that remains to be completed; (c) The

23   reasons why the remaining discovery was not completed within the time limit of the existing

24   discovery deadline; and, (d) A proposed schedule for the completion of all remaining discovery.

25          IT IS FURTHER ORDERED that, if no dispositive motions are filed within the time specified

26   in this order, then the parties must file a written, joint proposed pretrial order within 30 days of the

27   dispositive motion cutoff. If dispositive motions are filed, then the parties must file a written, joint

28   proposed pretrial order within 30 days of the date the Court enters a ruling on the dispositive

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 1   motions. Within 30 days of the entry of a pretrial order, or as further ordered by the Court, the parties

 2   must submit to a pretrial settlement conference.

 3          IT IS SO ORDERED.

 4

 5          ___________________________________

 6          UNITED STATES MAGISTRATE JUDGE

 7                  7-16-2018
            DATED: ____________________.

 8          CASE NO. 2:18-cv-00585-RFB-GWF
 9

10   RESPECTFULLY SUBMITTED this 13th day of July, 2018.
11

12

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